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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                              MONROE DIVISION


UNITED STATES OF AMERICA                        CRIMINAL ACTION NO. 10-198

VERSUS                                          JUDGE ELIZABETH ERNY FOOTE

PAUL N. TEMPLE                                  MAGISTRATE JUDGE KAREN HAYES


                                   JUDGMENT

      The Report and Recommendation [Record Document 58] of the Magistrate Judge

having been considered, no objections thereto having been filed, and finding that same

is supported by the law and the record in this matter,

      IT IS ORDERED, ADJUDGED, AND DECREED that the District Court accepts

the guilty plea of the defendant, Paul N. Temple, and adjudges him GUILTY of the

offense charged in Count 22 of the Indictment against him.

      THUS DONE AND SIGNED in chambers on this 26th day of January, 2011.
